                  Case 5:21-mj-00516-DUTY Document 1 Filed 08/03/21 Page 1 of 7 Page ID #:1
            LODGED                                                                                                               FILED
   CLERK, U.S. DISTRICT COURT                                                                                         CLERK, U.S. DISTRICT COURT
       AO 91 (Rev. 11/11) Criminal
                          Crimin Com
                                   Complaint


    8/3/2021                                 UNITED STATES DISTRICT COURT                                              $XJXVW
                                                                                                                       $XJXVW 
                                                                         for the
 CENTRAL DISTRICT OF CALIFORNIA                                                                                    CENTRAL DISTRICT OF CALIFORNIA
                -.
   BY: ___________________ DEPUTY                            Central District
                                                           __________         of of
                                                                       District  California
                                                                                    __________                            '%URZQ
                                                                                                                     BY: ___________________ DEPUTY


                   U1,7('67$7(62)$0(5,&$                                 )
                              v.                                            )
                                                                            )      Case No.      5:21-mj-00516
                          FOSTER LEE SCOTT,
                                                                            )
                                                                            )
                                                                            )
                                                                            )
                                    Defendant(s)


        &5,0,1$/&203/$,17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16

                 I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
       On or about the date(s) of                       July 16, 2020              in the county of          San Bernardino               in the
              Central         District of              California       , the defendant(s) violated:

                    Code Section                                                      Offense Description
       21 U.S.C. § 841(a)(1)                             Possession of a Controlled Substance with Intent to Distribute




       This criminal complaint is based on these facts:
       Please see attached affidavit.




                 ✔ Continued on the attached sheet.
                 u


                                                                                                 VSXUVXDQWWR)HG5&ULP3
                                                                                                      Complainant’s signature

                                                                                              FBI Special Agent, James Lamothe
                                                                                                       Printed name and title

       $WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\WHOHSKRQH


       Date:      $XJXVW
                                                                                                          Judge’
                                                                                                               ’s signature
                                                                                                          Judge’s

       City and state:                             Riverside, CA                     +RQRUDEOH.HQO\.L\D.DWR860DJLVWUDWH-XGJH
                                                                                                       Printed name and title

$86$ Christian    Acevedo (x6922)
 Case 5:21-mj-00516-DUTY Document 1 Filed 08/03/21 Page 2 of 7 Page ID #:2



                                AFFIDAVIT
I, James Lamothe, being duly sworn, declare and state as

follows:

                       I. PURPOSE OF AFFIDAVIT

            This affidavit is made in support of a criminal

complaint and arrest warrant against Foster Lee Scott (“SCOTT”)

for a violation of 21 U.S.C. § 841(a)(1) (Possession with Intent

to Distribute Methamphetamine), which occurred on or about July

16, 2020.

            The facts set forth in this affidavit are based on my

personal observations, my training and experience, information

from police records and evidence, and information obtained from

law enforcement and other personnel.        This affidavit is intended

to show merely that there is sufficient probable cause for the

requested complaint and arrest warrant and does not purport to

set forth all of my knowledge of or the investigation into this

matter.    Unless specifically indicated otherwise, all

conversations and statements described in this affidavit are

related in substance and in part only.

              II. BACKGROUND OF SPECIAL AGENT LAMOTHE

            I am a Special Agent (“SA”) of the Federal Bureau of

Investigation (“FBI”) and have been so employed since September

2019.   I am currently assigned to the Los Angeles Division of

the FBI, Victorville Resident Agency.

            I received formal training at the FBI Academy in

Quantico, Virginia, on, among other things, the United States

Constitution and conducting criminal investigations, to include
 Case 5:21-mj-00516-DUTY Document 1 Filed 08/03/21 Page 3 of 7 Page ID #:3



the writing and executing of search and arrest warrants.

Presently, I am assigned to work a variety of criminal

investigations, including wire fraud, crimes against children,

violent gangs, violent crimes, money laundering, crimes

committed on federal property, and drug trafficking.
              In the course of my employment as an FBI Special

Agent, I have assisted with the execution of several federal

search warrants and seizure of evidence, and I have assisted on

more than twenty criminal investigations.

                    III. SUMMARY OF PROBABLE CAUSE

             On July 16, 2020, Barstow Police Department (“BPD”)

officers developed the suspicion that SCOTT was involved in a

home burglary incident.     That suspicion, combined with SCOTT

being on Post Release Community Supervision (“PRCS”) and subject

to a search condition of his residence with or without probable

cause, led BPD officers to search SCOTT’s home as part of a PRCS

compliance search.    During the search of SCOTT’s bedroom,

officers found approximately 12 ounces (approximately 340 grams)

of a crystalline substance later determined to be

methamphetamine, which was divided into six baggies.          SCOTT also

had $2,328 in cash.     During a Mirandized interview, SCOTT

admitted that the methamphetamine was his.

                    IV. STATEMENT OF PROBABLE CAUSE

     7.    During the course of this investigation, I reviewed BPD

documents and evidence and spoke with BPD Detective Thomas

Lewis.    Based on my review and conversations, I have learned the

following:



                                    2
 Case 5:21-mj-00516-DUTY Document 1 Filed 08/03/21 Page 4 of 7 Page ID #:4



     A.    SCOTT’s Suspected Involvement in a Home Invasion

     8.    On or about July 14, 2020, Detective Lewis was assigned

to investigate a home burglary that occurred in Victorville,

California, on or about July 13, 2020.        Detective Lewis reviewed

and familiarized himself with the report and learned that a

white female adult and two black male adults were believed to

have been involved in the home invasion.

     9.    Detective Lewis reviewed surveillance footage from a

home near the burglary incident and at the approximate time of

the incident, and saw that individuals suspected to have

participated in the crime used a mid-2000s white Chevrolet

Colorado, a pickup truck, with black door handles to get away.

Detective Lewis also noticed that the Chevrolet Colorado had a

brake light which was not functioning.        He also noticed that one

of the black male adult suspects appeared to be leaving and

later entering the Colorado at approximately the same time of

the crime, and that individual appeared to be SCOTT, an

individual with whom Detective Lewis had had previous

encounters.    That individual appeared to fit SCOTT’s height and

heavy-set build.

     10.    Detective Lewis also recalled a robbery that occurred

on or about April 11, 2020, which involved Person A and the use

of a similar Chevrolet Colorado.        Detective Lewis knew that

Person A was in custody at the time of the July 13, 2020

burglary and knew that the Colorado used on April 11, 2020

belonged to Person B. 1    The detective also knew, based on

     1   Person A was later convicted of robbery in this incident.

                                    3
 Case 5:21-mj-00516-DUTY Document 1 Filed 08/03/21 Page 5 of 7 Page ID #:5



previous encounters, that Person B was SCOTT’s longtime

girlfriend, and that the two lived together at a home on Windy

Pass in Barstow, California.
              After reviewing the reports and surveillance footage

of the July 13, 2020 crime, and recalling previous experiences

with SCOTT and Person B, Detective Lewis searched law

enforcement databases and learned that SCOTT was on PRCS, that

SCOTT had the statutorily mandated search condition for his

residence (with or without probable cause), and that Person B

was on parole.

        B.   Search of SCOTT’s Home Yields Methamphetamine and Cash

              On or about July 16, 2020, at approximately 4:00 p.m.,

Detective Lewis drove to SCOTT’s home on Windy Pass and saw a

white Chevrolet Colorado parked in the driveway.

              Detective Lewis knocked on the door and announced,

“Barstow Police,” to commence a compliance check of SCOTT under

PRCS.    A female could be heard saying, “Foster, someone’s at the

door,” as Detective Lewis knocked.       After a short time, a young

girl, who BPD officers later learned was Person B’s daughter,

came to the door.     Detective Lewis identified himself as a

Barstow Police Officer and asked Person B’s daughter if SCOTT

was home, and she confirmed that he was.        Detective Lewis asked

her to open the door, and Detective Lewis, accompanied by BPD

Detectives Arias, Willis, and Greig, stepped inside.

              Detective Lewis went to the south bedroom of the home,

which Detective Lewis knew belonged to SCOTT and Person B based

on previous encounters with SCOTT at that home.         When Detective



                                    4
 Case 5:21-mj-00516-DUTY Document 1 Filed 08/03/21 Page 6 of 7 Page ID #:6



Lewis entered the bedroom, SCOTT was leaning on the bed with

what was later determined to be $2,328.00 in cash in his hands.

Person B was standing near the closet of the bedroom.          SCOTT was

detained and escorted to the living room while Detectives Arias

and Lewis searched the bedroom.       Inside the bedroom, Detectives

Arias and Lewis located and seized the following:

            a.   Inside the bedroom closet, Detective Lewis found

six individual baggies containing an off-white crystalline

substance, which appeared to be methamphetamine based on

Detective Lewis’s training and experience.

            b.   Near the bed, stuffed inside a pair of yellow

basketball shoes, Detective Lewis found a wallet.          Inside the

wallet, Detective Lewis found a State of California Benefits

Identification card in the name of “Foster Scott” and two BPD

citations in the name of “Foster Lee Scott.”         The 1974 birth

year on these three documents matched FOSTER’s known birth year.

            c.   From the bed, the $2,328.00 in cash.

     C.    SCOTT Admits That Methamphetamine Is His

     15.   Detective Lewis asked Person B if she knew anything

about the methamphetamine, and Person B said that the

methamphetamine belonged to SCOTT, but that she did not know

where he got it from or if he sells it to anyone.
            SCOTT was arrested and taken to an interview room at

the BPD station.    There, Detective Lewis read SCOTT his Miranda

rights from a BPD-issued Miranda card and SCOTT voluntarily

agreed to speak with Detective Lewis.        During that interview,

SCOTT said that the methamphetamine was his and that Person B



                                    5
 Case 5:21-mj-00516-DUTY Document 1 Filed 08/03/21 Page 7 of 7 Page ID #:7



had nothing to do with it.      SCOTT said he received the

methamphetamine about a month earlier so that he could “make

some money.”   SCOTT claimed that the cash he was handling on the

bed when Detective Lewis walked in belonged to Person B and was

unrelated to drug sales.

     D.    Substance is Confirmed to be Methamphetamine

     17.    On the same day, Detective Lewis weighed the six

baggies of suspected methamphetamine and determined that

together, they weighed approximately 12 ounces (approximately

340 grams).
            On July 20, 2021 (approximately one year later), a

United States Drug Enforcement Agency laboratory tested the
substance and determined that it amounted to approximately 322
grams of pure methamphetamine.

                             V. CONCLUSION
            For all the reasons described above, there is probable

cause to believe that SCOTT has committed a violation of 21
U.S.C. § 841(a)(1) (Possession with Intent to Distribute
Methamphetamine).


Attested to by the applicant,
FBI SA James Lamothe, in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this UG day of
August 2021.



HONORABLE KENLY
          KENLY K,<$ KATO
                     KA
UNITED STATES MAGISTRATE JUDGE




                                    6
